MANDATE
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                               UNITED STATES COURT OF APPEALS
                                              for the
                                        SECOND CIRCUIT
                           ____________________________________________

            At a Stated Term of the United States Court of Appeals for the Second Circuit, held at
     the Daniel Patrick Moynihan United States Courthouse, 500 Pearl Street, in the City of New
     York, on the 2nd day of February, two thousand and twelve,

      ____________________________________

      Jack Klein,                                              ORDER
                                                               Docket Number: 12-245
      Plaintiff - Appellant,

      v.

      Solomon & Solomon PC, Julie B. Solomon, Esquire,

      Defendants - Appellees.
      _______________________________________

            A notice of appeal was filed on January 18, 2012. Appellant's Forms C & D were due
     February 1, 2012. The case is deemed in default.

              IT IS HEREBY ORDERED that the appeal will be dismissed effective February 16,
     2012, if the forms are not filed by that date.

                                                           For The Court:
                                                           Catherine O'Hagan Wolfe,
                                                           Clerk of Court




MANDATE ISSUED ON 03/02/2012
